
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1331

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                    KEVAN FULMER,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________

               Miriam Conrad, Federal Defender Office, for appellant.
               _____________
               Paul  G.  Levenson, Assistant  United States  Attorney, with
               __________________
          whom  Donald K. Stern, United  States Attorney, was  on brief for
                _______________
          appellee.



                                 ____________________

                                    March 28, 1997
                                 ____________________



















                    TORRUELLA, Chief Judge.   On April 28, 1995, Defendant-
                    TORRUELLA, Chief Judge.
                               ___________

          Appellant Kevan Fulmer ("Fulmer")  was indicted for threatening a

          federal  agent   in  violation  of  18   U.S.C.     115(a)(1)(B).

          Following a jury trial, Fulmer was convicted on November 3, 1995,

          of  threatening Richard Egan  ("Egan"), a special  agent with the

          Federal Bureau of Investigation ("FBI").  Fulmer was sentenced to

          a term of five months imprisonment to be followed by two years of

          supervised release.  On appeal, Fulmer challenges his conviction,

          a number of evidentiary  rulings, and the jury instructions.   We

          find that several improper  evidentiary rulings were not harmless

          error, and, accordingly, we vacate Fulmer's conviction and remand

          for a new trial.

                                      BACKGROUND
                                      BACKGROUND

                    We  sketch the  facts  presented  at  trial,  providing

          further  details as they become  relevant to the  discussion.  In

          May 1994, the  Office of  the United States  Trustee referred  to

          Egan  a complaint in which Fulmer alleged that his former father-

          in-law,  Antonio Boschetti ("Boschetti"),  and his brother, David

          Fulmer,  had  failed to  disclose  assets in  bankruptcy  and had

          committed pension fraud and  income tax fraud.  Egan  arranged to

          meet  Fulmer in  August or  September of  1994.  At  the meeting,

          Fulmer  explained to  Egan that  he and  his brother  had married

          Boschetti's daughters,  and that Fulmer had  since been divorced.

          Fulmer indicated that Boschetti  and David Fulmer had engaged  in

          illegal business  activities.   Fulmer explained that  these were

          "vicious" people and that  they had "used the courts  to keep him


                                         -2-














          away  from  his family."    Egan described  Fulmer's  demeanor as

          "polite, articulate" and  "tense."  Egan noted  that, although he

          tried  repeatedly to  steer the  conversation toward  the alleged

          concealment  of  assets,  Fulmer  would return  to  his  strained

          relationship with his family.

                    Over the  next  three  months,  Fulmer  contacted  Egan

          "every week or ten  days."  Fulmer delivered documents  to Egan's

          office and stopped by to inquire about the investigation.  Fulmer

          also  sent  letters and  faxes  to Egan  and  called Egan  on the

          telephone,  leaving   messages  when  he  did   not  reach  Egan.

          Throughout this  interaction, Fulmer continued to  comment on his

          poor relationship with his family.

                    Egan   interviewed  Boschetti  and  David  Fulmer,  and

          obtained and reviewed documents related to the bankruptcy.  After

          Egan investigated  Fulmer's allegations,  Egan consulted  with an

          Assistant United States  Attorney.  In  January 1995, the  United

          States Attorney's office advised Egan that it would not prosecute

          the case.  Egan in turn  informed Fulmer that the records did not

          support  prosecution.   Fulmer protested  the decision,  but said

          "good-bye"  and hung  up after  Egan told  him there  was nothing

          further to discuss.   Fulmer may have asked Egan whether he could

          provide  further  information to  make  a  stronger case  against

          Boschetti and David Fulmer.

                    There  were  no further  interactions between  Egan and

          Fulmer until April  25, 1995,  when Egan  received the  following

          voicemail message from Fulmer at approximately 5:40 p.m.:


                                         -3-














                    Hi Dick, Kevan Fulmer.  Hope things are well,
                    hope you had an  enjoyable Easter and all the
                    other holidays  since  I've spoken  with  you
                    last.  I want you to look something up.  It's
                    known  as misprision.   Just  think of  it in
                    terms of misprision of a felony.  Hope all is
                    well.   The silver bullets are  coming.  I'll
                    talk to you.  Enjoy the intriguing unraveling
                    of  what I said to  you.  Talk  to you, Dick.
                    It's been a pleasure.  Take care.

                    At Fulmer's trial, Egan testified that he was "shocked"

          by  the message,  which  he found  "chilling"  and "scary."    He

          testified  that  he had  never  heard the  term  "silver bullets"

          before  and believed that the term indicated a threat.  He stated

          that  he  intended to  report the  message  to the  United States

          Attorney's   office.     Egan's  supervisor,   Robert  Schlabach,

          testified that Egan played  the message for him the  next morning

          and told Schlabach that he believed  the message was a threat and

          intended  to  take it  to  the United  States  Attorney's office.

          Schlabach  also  testified  that  Egan  appeared  "clearly upset,

          concerned, [and] agitated."  Trial Transcript, vol. 2, at 130.

                    Fulmer  presented two  witnesses who  testified  to the

          meaning  Fulmer associated with  the term "silver  bullets."  The

          first,  John Noonan,  a lawyer  and former  federal investigator,

          testified  that  he  had  heard  Fulmer use  the  phrase  "silver

          bullets"  to  describe "a  clear-cut  simple  violation of  law."

          Noonan stated  that Fulmer used  the phrase to  describe specific

          evidence, including an $8,200 check from a bankruptcy estate that

          never reached its intended recipient.

                    The second  witness, David Tremblay, testified  that he

          had known Fulmer for more than  twenty years and that Fulmer  had

                                         -4-














          used the phrase "silver bullets" to mean "information that he was

          going to provide to banks proving the illegality of some of David

          Fulmer's transactions."

                    David Baarlaer,  a  portfolio analyst  for GE  Capital,

          testified  that  in  April   1995  Fulmer  prompted  Baarlaer  to

          investigate  whether   GE  Capital  had  received   a  check  for

          approximately $8,300  from the  Boschettis.  Baarlaer  found that

          the check  had not been  received.   In April, David  Fulmer sent

          Baarlaer a copy  of the check,  which showed no  signs of  having

          been canceled, endorsed, or deposited.  Sometime before April 25,

          1995, Baarlaer told Fulmer about the check.

                                      DISCUSSION
                                      DISCUSSION

          I.        Sufficiency of the Evidence
          I.        Sufficiency of the Evidence

                    Fulmer   contests  the  sufficiency   of  the  evidence

          supporting  his  conviction  on   two  grounds,  first,  that  an

          ambiguous  statement cannot  be considered  a "true  threat," and

          second, that the evidence  did not support a finding  that Fulmer

          had  the  requisite  intent.   We  begin  with  the  now-familiar

          standard of review:

                    In  assessing a challenge  to the sufficiency
                    of  the  evidence, we  "review the  record to
                    determine whether the evidence and reasonable
                    inferences therefrom, taken as a whole and in
                    the  light most favorable to the prosecution,
                    would  allow  a  rational jury  to  determine
                    beyond a reasonable doubt that the defendant[
                    was] guilty as charged."

          United  States  v. Sullivan,  85 F.3d  743,  747 (1st  Cir. 1996)
          ______________     ________

          (quoting United  States v. Mena-Robles,  4 F.3d  1026, 1031  (1st
                   ______________    ___________

          Cir. 1993)).

                                         -5-














                    A.   "True threat"
                    A.   "True threat"

                    Fulmer   argues  that  the   appropriate  standard  for

          determining  a true threat is whether  "a reasonable person would

          foresee  that the statement would be interpreted by those to whom

          the maker communicates the statement  as a serious expression  of

          intent to harm or  assault."  United States v.  Orozco-Santillan,
                                        _____________     ________________

          903 F.2d  1262, 1265 (9th Cir. 1990).  The government argues that

          the proper standard is whether an "ordinary, reasonable recipient

          who  is  familiar  with  the context  of  the  [statement]  would

          interpret it as  a threat of injury."  United States v. Maisonet,
                                                 _____________    ________

          484 F.2d  1356, 1358 (4th Cir.  1973).  This circuit  has not yet

          ruled on the appropriate standard regarding the nature of a "true

          threat."   Although our  sister circuits  that have reviewed  the

          standard under this and other1 federal threat statutes agree that
                              
          ____________________

          1  18 U.S.C.   871 provides, in part:

               Threats  against   President  and  successors   to  the
               Presidency

                    (a)  Whoever knowingly and willfully  deposits for
               conveyance  in the mail or for a delivery from any post
               office  or by  any  letter carrier  any letter,  paper,
               writing,  print, missive,  or  document containing  any
               threat  to take the life  of, to kidnap,  or to inflict
               bodily harm  upon the  President of the  United States,
               the  President-elect,  the   Vice  President  or  other
               officer next in  the order of succession to  the office
               of  President  of  the   United  States,  or  the  Vice
               President-elect, or knowingly  and willfully  otherwise
               makes any such threat against the President, President-
               elect,  Vice President  or  other officer  next in  the
               order of succession to the office of President, or Vice
               President-elect,  shall be  fined under  this  title or
               imprisoned not more than five years, or both.

          18 U.S.C.   875 provides, in part:


                                         -6-














          an objective  standard is  required, they disagree  regarding the

          appropriate vantage point  -- what a person  making the statement

          should  have  reasonably foreseen  or  what  a reasonable  person

          receiving the statement  would believe.  Compare United States v.
                                                   _______ _____________

          Malik, 16 F.3d 45, 48  (2d Cir. 1994) ("The test is  an objective
          _____

          one --  namely, whether 'an ordinary, reasonable recipient who is

          familiar with the context of  the letter would interpret it  as a

          threat  of injury.'" (quoting  Maisonet, 484 F.2d  at 1358)), and
                                         ________                       ___

          United States v. Schneider,  910 F.2d 1569, 1570  (7th Cir. 1990)
          _____________    _________

          ("The test for  whether a statement is  a threat is  an objective

          one;  it is  not  what the  defendant  intended but  whether  the

          recipient   could  reasonably   have  regarded   the  defendant's

          statement as a  threat.") with Orozco-Santillan, 903 F.2d at 1265
                                    ____ ________________

          ("Whether a particular statement may properly be considered to be

          a  threat is  governed  by an  objective  standard --  whether  a

                              
          ____________________

               Interstate communications

                    (c)  Whoever transmits  in  interstate or  foreign
               commerce any  communication  containing any  threat  to
               kidnap any person or any threat to injure the person of
               another, shall be fined  under this title or imprisoned
               not more than five years, or both.

          18 U.S.C.   876 provides, in part:

               Mailing threatening communication

                    Whoever  knowingly so  deposits  or  causes to  be
               delivered  as  aforesaid,  any  communication  with  or
               without a name or designating  mark subscribed thereto,
               addressed to any other person and containing any threat
               to kidnap any person or any threat to injure the person
               of the  addressee or of  another, shall be  fined under
               this title or  imprisoned not more than five  years, or
               both.

                                         -7-














          reasonable  person  would foresee  that  the  statement would  be

          interpreted by those to whom the maker communicates the statement

          as  a  serious expression  of intent  to  harm or  assault.") and
                                                                        ___

          United  States v.  Welch,  745 F.2d  614,  619 (10th  Cir.  1984)
          ______________     _____

          (maintaining that the test is "whether a  reasonable person would

          foresee  that  the  statement  would be  interpreted  by  persons

          hearing it as  a serious  expression of an  intention to  inflict

          bodily harm  upon or to  take the  life of the  President of  the

          United States." (internal quotations  omitted)).  See also United
                                                            ________ ______

          States v.  DeAndino, 958  F.2d 146, 148  (6th Cir.  1992) ("[T]he
          ______     ________

          standard . . . is an objective standard, i.e., would a reasonable
                                                   ____

          person consider the statement to be a threat.").

                    We believe that the  appropriate standard under which a

          defendant  may be  convicted for  making a  threat is  whether he

          should  have reasonably  foreseen that  the statement  he uttered

          would be  taken as a threat  by those to  whom it is made.   This

          standard not only takes into account the factual context in which

          the  statement was made, but  also better avoids  the perils that

          inhere in  the "reasonable-recipient standard,"  namely that  the

          jury will consider the  unique sensitivity of the recipient.   We

          find  it particularly untenable that, were we to apply a standard

          guided  from the perspective of the recipient, a defendant may be

          convicted for  making an  ambiguous statement that  the recipient

          may find threatening because  of events not within the  knowledge

          of the defendant.   Therefore, we follow the approach  of several




                                         -8-














          circuits by holding  that the  appropriate focus is  on what  the

          defendant reasonably should have foreseen.

                    Fulmer  contends  that   the  statement  was  at   most

          ambiguous  and could not have been a "true threat."  Fulmer cites

          United States v. And jar, which states that
          _____________    _______

                    [i]f  the evidence  viewed in the  light most
                    favorable  to the prosecution  gives equal or
                    nearly  equal  circumstantial  support  to  a
                    theory of guilt and  a theory of innocence of
                    the  crime charged,  this court  must reverse
                    the conviction.   This  is so  because . .  .
                    where  an equal  or  nearly  equal theory  of
                    guilt  and a theory of innocence is supported
                    by  the  evidence viewed  in  the  light most
                    favorable to  the verdict, a  reasonable jury
                    must   necessarily  entertain   a  reasonable
                    doubt.

          49  F.3d 16,  20 (1st  Cir.  1995) (citation,  internal quotation

          marks, and emphasis omitted).

                    Although Fulmer properly recites  the law, we find that

          And jar's  wisdom does not apply  here.  A  reasonable jury could
          _______

          have found the following.  A bankruptcy trustee referred Fulmer's

          complaint to Egan in May 1994.  In August or  September, Egan met

          with  Fulmer,  and  found   his  demeanor  regarding  his  family

          "intense."   Fulmer expressed his belief that Boschetti and David

          Fulmer had engaged in illegal activities and further claimed that

          they were "vicious" people who had used the courts to keep Fulmer

          away from  his family.   Thereafter, Egan had  conversations with

          Boschetti and David Fulmer who reiterated the ill feelings Fulmer

          bore toward  them.  Fulmer  contacted Egan frequently,  by letter

          and by  telephone, leaving voicemail  messages when Egan  was not

          available.

                                         -9-














                    After a  thorough investigation, Egan and  an Assistant

          United  States   Attorney  determined   that  the   evidence  was

          insufficient  to support  a prosecution.   Fulmer  protested, but

          when  Egan told him there was nothing further to discuss, he said

          "goodbye" and  hung  up.   Egan's  next interaction  with  Fulmer

          occurred  three  months later,  when  Fulmer  left the  voicemail

          message at issue.

                    The jury could have also found that, although the usage

          of the term "silver bullets" varies,  the phrase may be used as a

          threat.

                    Reviewing   all  of  these   facts,  and   drawing  all

          inferences  in  favor  of the  verdict,  we  cannot  say that  no

          rational jury  could have  found beyond  a reasonable doubt  that

          Fulmer's  statement was a  threat.  "Whether  a given [statement]

          constitutes a  threat is an  issue of fact  for the trial  jury."

          Malik, 16 F.3d  at 49.   The use of  ambiguous language does  not
          _____

          preclude  a statement from being  a threat.   See id.; Schneider,
                                                        ___ ___  _________

          910 F.2d at 1570 ("The threat in this case was ambiguous, but the

          task of interpretation was for the jury."); Orozco-Santillan, 903
                                                      ________________

          F.2d at 1265 ("The fact that a threat is subtle does not  make it

          less  of  a threat."  (citation  and  quotation marks  omitted));

          Maisonet,  484 F.2d  at  1358 (finding  determination of  whether
          ________

          statement constitutes a threat a jury question);  see also United
                                                            ________ ______

          States  v. Barcley, 452 F.2d  930, 934 (8th  Cir. 1971) (Aldrich,
          ______     _______

          J., sitting  by  designation, dissenting)  (contending  that  the

          interpretation of an ambiguous statement is a factual question to


                                         -10-














          be  resolved by a jury).  While  the statement on its face may be

          susceptible  to more  than one  interpretation, some  factors not

          discernable  from the record, such as the tone of the defendant's

          voice  or  the  credibility  of  the  government's  and  Fulmer's

          witnesses,  may legitimately lead  a rational  jury to  find that

          this statement was a threat.

                    Fulmer further suggests that we must strictly apply the

          "true threat" standard in  order to avoid trampling on  his First

          Amendment rights,  citing Watts  v. United  States, 394  U.S. 705
                                    _____     ______________

          (1969).  Watts involved a statement made against the president in
                   _____

          the context  of a political rally  against a war.   The Court was

          concerned  with  punishing   Watts'  constitutionally   protected

          political  speech.   See  id.  at  1401  ("The  language  of  the
                               ___  ___

          political arena, like the language used in labor  disputes, . . .

          is often  vituperative, abusive  and inexact.  .  . .   Taken  in

          context, and  regarding the  expressly conditional nature  of the

          statement and the reaction of the listeners, we do not see how it

          could be interpreted otherwise.").  In this case, Fulmer does not

          argue  his message was one  criticizing either Egan  or any other

          government figure.  Moreover, a true threat is unprotected by the

          First  Amendment.  Orozco-Santillan, 903  F.2d at 1265.   Thus, a
                             ________________

          conviction under  this  statute,  based on  a  finding  that  the

          statement  was   a  true  threat,  would   not  violate  Fulmer's

          constitutionally protected right to speech.

                    B.   Intent to impede,  intimidate, interfere with,  or
                    B.   Intent to impede,  intimidate, interfere with,  or
                         retaliate
                         retaliate



                                         -11-














                    The jury was entitled to infer Fulmer's intent from the

          circumstances surrounding  the statement.   See United  States v.
                                                      ___ ______________

          DiMarzo, 80 F.3d 656, 661  (1st Cir.) ("The jury was entitled  to
          _______

          rely upon  circumstantial  evidence  . .  .  to  infer  essential

          elements of  the crime .  . .  ."), cert. denied,  117 S. Ct. 259
                                              ____________

          (1996); United States v. Taylor, 54 F.3d 967, 975 (1st Cir. 1995)
                  _____________    ______

          (noting that  a showing of criminal intent "may be made wholly on

          the basis  of circumstantial evidence").   Drawing all inferences

          and credibility determinations in favor of the government's case,

          we  find  that  a rational  jury  could  have  found that  Fulmer

          knowingly made the statement alleged to be  a threat, and that he

          did so with the intent to "impede, intimidate, or interfere with"

          Egan  in the performance of his duties, or to "retaliate" against

          him, within the meaning of 18 U.S.C.   115(a)(1)(B).

                      Although   we  find   that  the   evidence  was   not

          insufficient as  a matter of law,  we come to this  conclusion by

          viewing  the  properly  admitted   evidence  in  the  light  most

          favorable  to   the  verdict  and  by   drawing  all  credibility

          determinations in favor of the verdict.  As we discuss in section

          III,  we believe  that the  improperly admitted  evidence was  so

          inflammatory that it  may have prompted the jury at the outset to

          weigh the  properly admitted evidence in  the government's favor.

          This  sort of taint we  cannot condone, and  justifies a reversal

          even  where Fulmer's  argument  as  to  the  sufficiency  of  the

          evidence fails.

          II.       Jury Instructions
          II.       Jury Instructions


                                         -12-














                    A.   Intent to Threaten Egan
                    A.   Intent to Threaten Egan

                    Fulmer  argues that  the district  court erred  when it

          failed  to instruct the jury  that the statute  requires both the

          statutory intent and an intent "to put Mr. Egan in  fear of being

          assaulted or murdered."   He also claims that the  district court

          erred  when it declined to instruct  "to say or do something that

          would cause a person  of ordinary sensibilities to be  fearful of

          harm to himself or another."

                    The  district  court  set forth  the  jury  instruction

          regarding the elements of the statute2 as follows:

                      To  prove  the  defendant   committed  this
                    crime,  the  Government must  prove  that the
                    defendant  knowingly threatened  the officer.
                    The  term  "knowingly,"  as  used   in  these
                    instructions,  means  that the  defendant was
                    conscious and aware  of his actions, realized
                    what  he was doing,  and did  not act  out of
                    ignorance, mistake, or accident.


                              
          ____________________

          2  18 U.S.C.   115(a)(1)(B) states:

                    (a)(1) Whoever --

                                        * * *

                      (B)  threatens  to   assault,  kidnap,   or
                    murder,  a United  States official,  judge, a
                    Federal  law  enforcement   officer,  or   an
                    official whose killing would be a crime under
                    such section,

                    with   intent   to  impede,   intimidate,  or
                    interfere with such  official, judge, or  law
                    enforcement  officer  while  engaged  in  the
                    performance  of  official  duties,   or  with
                    intent  to retaliate  against such  person on
                    account of the performance of official duties
                    during the  term of service  of such  person,
                    shall be punished . . . .

                                         -13-














                      Now, what is a  threat for purposes of this
                    statute?    A  threat  is  a  statement  that
                    expresses an intent to inflict bodily harm on
                    someone.  To be a threat, a statement must be
                    of  such  a nature  as can  reasonably induce
                    fear.  You must determine whether a statement
                    was a true threat when judged in this context
                    -- in its context.

                      Among  other  things,  you should  consider
                    whether  on its face and in the circumstances
                    in which the statement is  made, a reasonable
                    person would foresee that the statement would
                    convey  to  the  recipient a  seriousness  of
                    purpose   and   the   apparent  prospect   of
                    execution.  Whether a particular statement is
                    a threat is governed by an objective standard
                    whether   a   reasonable   person    in   the
                    circumstances   would    foresee   that   the
                    statement would be  interpreted by the person
                    to whom it is made as a serious expression of
                    intent to harm or assault.

                      This means  that  you should  consider  the
                    statement  in light  of  its  entire  factual
                    context,  including  the surrounding  events,
                    reaction of the listeners, and the manner and
                    tone  in  which  it  is  made  --  was  made.
                    Sometimes the  tone or  the way  something is
                    expressed can  make  a difference  between  a
                    threat and something that is not a threat.

                      Keep in mind that the Government must prove
                    its case  beyond a  reasonable doubt.   So if
                    there  is something  ambiguous about  the way
                    the statement is made  and you think that the
                    statement can be reasonably interpreted under
                    the circumstances, either  as threatening  or
                    nonthreatening, the case has not been proven.
                    However, the fact that  a threat is subtle or
                    lacks  explicitly  threatening language  does
                    not make it less of a threat.

                      Now, a threat  can be made in  person, in a
                    phone  call, or in a letter.  To be a threat,
                    it's not necessary that the statement be made
                    face to  face.  The Government  does not have
                    to prove that the defendant actually intended
                    to carry out the  threat or that he  was able
                    to.   That is not a part of the definition of
                    threat.


                                         -14-














                      If the Government proves  that a threat was
                    made by  the defendant, then  you must decide
                    whether  the person threatened  was a federal
                    law  enforcement officer  and whether  at the
                    time  the  threat was  made, the  officer was
                    engaged  in the  performance of  his official
                    duties.

                                        * * *

                      If  you find  that a  threat to  assault or
                    murder a federal law enforcement  officer was
                    made, then you must consider the next element
                    of the offense.  The indictment says that the
                    threat  was  made  with  intent   to  impede,
                    intimidate,  and  interfere  with Agent  Egan
                    while  engaged  in  the  performance  of  his
                    official duties and to retaliate  against him
                    on   account  of  the  performance  of  those
                    duties.

                      Even  though the  indictment uses  the word
                    "and,"   you   must  determine   whether  the
                    defendant made the threat  with the intent to
                    impede  or intimidate  or interfere  with the
                    federal law enforcement officer's performance
                    of his other official  duties or whether  the
                    defendant made the threat with the  intent to
                    retaliate against the law enforcement officer
                    because  of his  performance of  his official
                    duties.

                      The Government may satisfy this  element of
                    the   offense   by  proving   any   of  these
                    intentions.   It  is not  necessary that  the
                    Government prove that the  defendant intended
                    all of these  things.  If  you find that  the
                    Government has proven any of these intentions
                    beyond  a  reasonable  doubt  and  you  agree
                    unanimously as  to which one it  is, then the
                    Government would  have proven the  element of
                    intent.

                      When we  talk about a  defendant's -- about
                    the defendant's intent, we are  talking about
                    what he meant to do and what was in his mind.
                    This is difficult  to prove directly, because
                    there is  no way  directly to scrutinize  the
                    works of someone else's  mind or his state of
                    mind.     But  you  may  infer   .  .  .  the
                    defendant's   intent  from   the  surrounding
                    circumstances, that  is to say, you  may rely

                                         -15-














                    on circumstantial evidence in determining the
                    defendant's  intent.   You  may consider  any
                    statement made,  act done, or omitted  by the
                    defendant   and   all    other   facts    and
                    circumstances in evidence which  indicate his
                    intent.

          Trial Transcript, vol. 4, at 84-87.

                    "We  review  allegedly erroneous  jury  instructions de
                                                                         __

          novo to determine  [whether] the instructions, taken  as a whole,
          ____

          show a tendency to  confuse or mislead the  jury with respect  to

          the applicable principles of law."   Tatro v. Kervin, 41 F.3d  9,
                                               _____    ______

          14 (1st Cir. 1994).

                    We  find that  the  instructions,  in  their  entirety,

          accurately reflect  the elements, including the  required intent,

          necessary to convict under  18 U.S.C.   115(a)(1)(B).   "The only

          intent  requirement  is  that  the   defendant  intentionally  or

          knowingly communicates his  threat, not that  he intended or  was

          able to carry  out his  threat."  Orozco-Santillan,  903 F.2d  at
                                            ________________

          1265 n.3.   The district court's  instruction accurately reflects

          this standard and, thus, there was no error.

                    Regarding  Fulmer's contention that  the district court

          erred in failing to adopt Fulmer's definition of "intimidate," we

          note that his trial  counsel failed to state an  objection to the

          definition  of "intimidate."  Therefore, we review only for plain

          error.  And jar, 49 F.3d at 22.
                  _______

                    Beyond  stating that  the  court did  not include  this

          instruction,  Fulmer  fails  to  state why  this  omission  would

          constitute  error.   We  believe that  the  meaning of  the  word

          "intimidate"  is not  outside of  the juror's  understanding such

                                         -16-














          that  the district  court's  failure  to  define the  word  could

          constitute an error that  threatens to "undermine the fundamental

          fairness of the trial."  United States v.  Joselyn, 99 F.3d 1182,
                                   _____________     _______

          1197 (1st Cir. 1996)  (citing United States v. Young,  470 U.S. 1
                                        _____________    _____

          (1985)).  We thus find no plain error here.












































                                         -17-














                    B.   Definition of "threat"
                    B.   Definition of "threat"

                    Fulmer states  his objections  to the  district court's

          definition of threat as:

                    1) to  the absence  of an instruction  that a
                    threat is "a serious  expression of intent to
                    inflict injury  and not merely  a vehement or
                    emotional  expression  of political  opinion,
                    hyperbole,  or  arguments against  Government
                    officials";  2)  that the  instruction should
                    not  define a  threat  as  an  expression  of
                    intent to  harm or assault, since  the threat
                               ____
                    charged was  one to assault or  murder; 3) to
                    the  phrase "reasonably  induce fear";  4) to
                    the instruction that the  tone could make the
                    difference   between   a    threat   and    a
                    nonthreatening  statement;  and  5)   to  the
                    instruction  that  the absence  of explicitly
                    threatening language  or  the use  of  subtle
                    words  does not  make a  statement less  of a
                    threat.

          Appellant's Brief at 44-45.

                    Regarding Fulmer's first argument, that  an instruction

          that  the statement  was not  "merely . .  . arguments  against a

          government  official," exclusion  of  this  language was  proper.

          Although a defendant is  entitled to an instruction on  a defense

          theory that is  "sufficiently supported by both  the evidence and

          the law," United States v. Olmstead,  832 F.2d 642, 647 (1st Cir.
                    _____________    ________

          1987), there is  no evidence in  the record to  support a  theory

          that Fulmer  intended any statement  in this message  to register

          his  displeasure with the manner in which Egan was conducting his

          official duties.   No such argument was presented  to the jury in

          Fulmer's   closing  arguments.      Furthermore,  the   statutory

          requirement  of an  intent  to impede,  intimidate, or  interfere

          with, or to  retaliate against a federal law  enforcement officer


                                         -18-














          "serves to insulate the statute from unconstitutional application

          to protect speech."   United  States v. Gilbert,  813 F.2d  1523,
                                ______________    _______

          1529  (9th  Cir. 1987).    We  find that  there  is  a risk  that

          including  such language would serve  to confuse the  jury in its

          review of the facts in the case and its exclusion was not error.

                    Fulmer   next   argues   that  the   district   court's

          instruction that  a threat could mean an intent to harm creates a

          risk that the  jury would convict Fulmer for making  a "threat of

          nonphysical  harm, such  as  harm to  the  agent's reputation  or

          career."  Appellant's Brief at 46.  Fulmer's argument  obfuscates

          the  actual instruction, which creates  no such risk.   The court

          instructed  that "[a]  threat  is a  statement that  expresses an

          intent  to inflict bodily harm on someone."  The district court's

          limitation of the jury's attention  to only bodily harm  protects
                                                      ______

          Fulmer from the situation  against which he protests.   There was

          no error in the district court's use of the word "harm" to define

          "threat."

                    Fulmer fails to present any further argument, let alone

          developed argument, regarding the term "reasonably induce  fear,"

          and thus the argument is waived.  See United States v. Tracy, 989
                                            ___ _____________    _____

          F.2d 1279, 1286  (1st Cir. 1993) ("It is well settled that issues

          are  deemed waived  when 'adverted  to in  a  perfunctory manner,

          unaccompanied  by  some  effort  at   developed  argumentation.'"

          (quoting  United  States v.  Zannino, 895  F.2d  1, 17  (1st Cir.
                    ______________     _______

          1990)).




                                         -19-














                    Fulmer's  next  two   contentions,  that  the   court's

          "emphasis" on tone diminished the standard of proof, and that the

          court's instruction that  the absence  of explicitly  threatening

          language  or the  use  of subtle  language  does not  rule  out a

          finding  of a true threat misstates the law, are without support.

          Where a statement may be ambiguous, the entire context, including

          the  tone used, may assist  the jury in  determining whether that

          ambiguous  statement was  a threat.   See  Malik, 16  F.3d at  50
                                                ___  _____

          ("[R]igid  adherence to  the literal  meaning of  a communication

          without regard  to its  reasonable connotations derived  from its

          ambience would render the statute powerless against the ingenuity

          of threateners who  can instill in the victim's  mind as clear an

          apprehension of impending  injury by  an implied menace  as by  a

          literal threat."); see also United  States v. Sciolino, 505  F.2d
                             ________ ______________    ________

          586,  588 (2d Cir. 1974)  ("Since the question  of whether subtle

          conduct can amount to a threat  of force depends greatly upon all

          of the  surrounding circumstances,  including not only  the words

          used but the facial  expressions and gestures of the  accused, it

          is  peculiarly  one for  resolution by  the  jury.").   There was

          nothing improper  with so  instructing the  jury, and,  given the

          district court's repeated admonitions that the jury must find all

          of the elements  beyond a  reasonable doubt in  order to  convict

          Fulmer,  to do  so did  not  diminish the  standard the  jury was

          required to apply.

                    C.   Supplemental instruction on "assault"
                    C.   Supplemental instruction on "assault"




                                         -20-














                    Fulmer's final  argument is  that the  district court's

          supplemental jury instruction defining assault "tended to confuse

          or mislead the jury on the controlling issues."  United States v.
                                                           _____________

          Alzanki,  54 F.3d 994, 1001 (1st Cir. 1995), cert. denied, 116 S.
          _______                                      ____________

          Ct. 909 (1996).  "[T]he giving, or withholding, of a supplemental

          instruction,  or  the  contents  of  it  if  given,  are  matters

          committed to the trial court's sound  discretion."  United States
                                                              _____________

          v. Parent, 954 F.2d 23, 25 (1st Cir. 1992).
             ______

                    A few hours  into their deliberations, the  jury sent a

          note to the district judge stating,  "We have would [sic] like  a

          definition of the word  'assault' used in the complaint  or legal

          definition."    After  a  bench  conference  on  the  appropriate

          definition, the district court instructed the jury, over Fulmer's

          objection, that assault means:

                    any  deliberate  and  intentional attempt  or
                    threat  to  inflict   physical  injury   upon
                    another  with force  or  strength  when  that
                    attempt or threat is coupled with an apparent
                    present ability to do  so.  . . .  An assault
                    may  be  committed  by  a  defendant  without
                    actually touching, striking, or  doing bodily
                    harm to another.

          Trial Transcript, vol. 4, at 113-14.

                    We can see  how this wording,  by defining the  overall

          offense at issue  as a threat to threaten to  harm another, could

          confuse  a jury and we  believe that a  more logical instruction,

          considering the  offense in its entirety, probably  ought to have

          been given.   Even when we consider  the supplemental instruction

          in  the light of the  instructions in their  entirety, see United
                                                                 ___ ______

          States v. Femia, 57 F.3d 43, 46 (1st Cir. 1995),  we believe that
          ______    _____

                                         -21-














          the instructions conflicted with  the court's earlier instruction

          that  a  threat  expressed  an intent  to  inflict  bodily  harm.
                                                              ______

          Compare Trial Transcript, vol. 4, at 84 ("A threat is a statement
          _______

          that expresses an  intent to inflict  bodily harm on  someone."),

          with id.  at 114  ("An assault  may be  committed by  a defendant
          ____ ___

          without  actually touching,  striking,  or doing  bodily harm  to

          another.").   The instructions in  their entirety may  have had a

          tendency  to  confuse  the   jury  regarding  the  definition  of

          "assault" in  the context of a threat  to assault and the court's

          provision of such conflicting instructions was error.  Because we

          are  remanding on  other grounds,  we need  not venture  into the

          weighing  necessary  to  determine   whether  any  error  in  the

          instructions was harmless.   It  is sufficient that  we note  the

          potentially confusing nature of the instructions and  the need to

          tailor them so as to avoid any such confusion.

          III.      Evidentiary Issues
          III.      Evidentiary Issues

                    A.   Admission  of  Egan's   testimony  regarding   the
                    A.   Admission  of  Egan's   testimony  regarding   the
                         Oklahoma City bombing and subsequent bomb threats
                         Oklahoma City bombing and subsequent bomb threats

                    Fulmer  argues  that  the  prejudicial  effect  of  the

          following colloquy  substantially outweighed any  probative value

          and  thus  it should  have been  excluded  under Federal  Rule of

          Evidence 403.3


                              
          ____________________

          3  Federal Rule of Evidence 403 states:

                    Although relevant, evidence  may be  excluded
                    if  its  probative  value   is  substantially
                    outweighed by the danger of  unfair prejudice
                    . . . .

                                         -22-














                    Q.   Now,  apart from what  you knew  and had
                    learned   about   Kevan  Fulmer,   was  there
                    anything  else  that  affected  the  way  you
                    interpreted  the message that you received on
                    April 25, 1995?

                    A.  Yes.

                    Q.  What was that?

                    A.   There had been a series of recent events
                    . . . that  involved threats  to federal  law
                    enforcement officials and, in fact, a bombing
                    of the federal building in Oklahoma.

                    Q.   And  what did  you understand  about the
                    bombing of  the federal building  in Oklahoma
                    City?

                                        * * *

                      THE WITNESS:  I understand that 169 federal
                    employees died.

                    Q.   And when  had the Oklahoma  City bombing
                    occurred  in  relation  to your  hearing  the
                    message on April 25?

                    A.  One week before.

                                        * * *

                    Q.  And after the bombing in Oklahoma City of
                    the federal  building and  the time that  you
                    heard the  message, had anything  happened in
                    the interim that affected your interpretation
                    of the statement?

                                        * * *

                      THE WITNESS:   I think  we are  at --  yes,
                    there  were incidents  in Oklahoma  City that
                    concerned me.

                    Q.  Were those local incidents?

                    A.  There had  been a series of bomb  threats
                    and  evacuations  of  buildings   to  include
                    specific   bomb  threats  to  the  FBI,  bomb
                    threats to the JFK  Federal Building which is
                    across the street which was evacuated, and  a
                    bunch of other ones around the city.

                                         -23-














                    Q.  Directed at different Government offices?

                    A.  Yes.

                    Q.  And had your own office, the  FBI office,
                    been evacuated because of the [sic] threat?

                    A.  Yes.

          Trial  Transcript, vol. 2, at 113-15.  The government referred to

          the  bombing  in  both  its opening  statement  and  its  closing

          argument.   In the opening statement,  the prosecutor stated that

          Fulmer's statement occurred

                    just  one  week   after  someone   apparently
                    unhappy with the  way the Federal  Government
                    was doing its business had killed hundreds of
                    federal   agents,   federal  employees,   and
                    civilians.    And  in  the  week  after  that
                    threat, came  threats near Boston  to various
                    federal buildings including the FBI Building,
                    and  the need  to  evacuate  those  buildings
                    based on those threats.

          Id. at 46.  The government returned to this topic  in its closing
          ___

          argument:

                    One  week after  the  Oklahoma City  bombing,
                    bomb [sic] that can turn the federal building
                    out  there into  rubble, killing  hundreds of
                    federal law enforcement agents, employees and
                    civilians, an  event  that so  dominated  the
                    airways, it  [was] almost the  only thing  in
                    almost  a year,  [to] take  the O.J.  Simpson
                    trial off the page.

          Id., vol. 4, at 41.
          ___

                    We review  a trial  court's on-the-spot  weighing under

          Rule   403   for  abuse   of   discretion,   reversing  only   in

          extraordinarily  compelling   circumstances.    United  States v.
                                                          ______________

          Lewis,  40 F.3d 1325,  1339 (1st Cir. 1994).   The district court
          _____

          admitted the evidence as  "relevant to the agent's state  of mind


                                         -24-














          at  the time he  received the communication  and to why  he might

          have considered  it threatening."   Order  on Motions  in Limine,

          October  24, 1995,  at  2.   Fulmer  challenges this  assessment,

          arguing that, "[w]hile the  context of a statement may  well cast

          light  on  its  meaning,  that  fact  does  not  permit,  without

          limitation, any and all facts to be bootstrapped into the trial."

          Appellant's  Brief at  28.   The government,  on the  other hand,

          argues  that the testimony was properly admissible as evidence of

          the context in which Fulmer's statement was made.  The government

          suggests  that there was no  risk of prejudice  to Fulmer because

          "there was no  suggestion of, and no  serious risk that the  jury

          would infer,  any  link  between  Fulmer and  the  Oklahoma  City

          bombing."  Appellee's Brief at 29.  We agree with Fulmer.

                    The  probative value  of  this evidence  was, at  best,

          slight.    Fulmer's  "silver  bullets"  statement  did  not  make

          reference to Oklahoma City, bomb threats,  or the use of bombs or

          any other  type of explosive.  The statement could not be read as

          related to  the events that took  place in Oklahoma  City, nor to

          the bomb  threats in Boston.   True, such evidence may  have shed

          light on what  the person making the  statement reasonably should

          have  foreseen.   The  danger of  unfair  prejudice, however,  is

          tremendous.  Undue focus on evidence of the Oklahoma City bombing

          and resulting  deaths,  as well  as subsequent  bomb threats  and

          evacuations, serves only to  evoke an improper emotional response

          from the jury, distracting the jury from careful consideration of

          the  relevant issues  before it  and thereby  prejudicing Fulmer.


                                         -25-














          While some reference  to the bombing  may have been  permissible,

          the  scope  of the  evidence  admitted  constituted an  abuse  of

          discretion.

                    We  turn to  consider whether  the error  was harmless.

          "In  determining whether or  not error was  harmless, a reviewing

          court must assess the record as a whole to determine the probable

          impact of the improper evidence upon the jury."  United States v.
                                                           _____________

          Melvin,  27 F.3d 703, 708 (1st Cir. 1994) (citation and quotation
          ______

          marks omitted).  "An error will be treated as harmless only if it

          is 'highly probable'  that the  error did not  contribute to  the

          verdict."  Id.  Considering all of the evidence submitted in this
                     ___

          trial, including  other improperly admitted  evidence, see  infra
                                                                 ___  _____

          sections  III.B. &amp; III.C, and the fact that Fulmer's statement is

          certainly not without ambiguity, we cannot find that reference to

          the Oklahoma City bombing to be harmless.  See Melvin, 27 F.3d at
                                                     ___ ______

          708; see also United States v. Sep lveda, 15 F.3d 1161, 1182 (1st
               ________ _____________    _________

          Cir. 1993) ("[A] harmlessness determination  demands a panoramic,

          case-specific  inquiry  considering,   among  other  things,  the

          centrality  of   the  tainted  material,   its  uniqueness,   its

          prejudicial  impact,  the uses  to which  it  was put  during the

          trial,  the relative  strengths  of the  parties' cases,  and any

          telltales  that  furnish  clues  to  the  likelihood  that  error

          affected the factfinder's resolution of a material issue.").

                    B.   Admission of actual bullets
                    B.   Admission of actual bullets

                    During  a pre-trial  conference, the  government sought

          permission  to  introduce bullets  obtained  from  Egan to  rebut


                                         -26-














          Fulmer's  suggestion  that a  silver bullet  is  a solution  to a

          problem.  The district court allowed the introduction of four .38

          caliber  bullet  taken  from  Egan's desk  and  two  9-millimeter

          bullets taken  from his  handgun, instructing  the jury that  the

          ammunition was admitted

                    to demonstrate what it is Mr. Egan had in his
                    desk drawer.  So far  there is no evidence in
                                  ______
                    this  case that  the defendant  knew anything
                    about this exhibit at all.

          Trial Transcript, vol. 2, at 104 (emphasis added).

                    On  appeal, Fulmer  contends that the  district court's

          admission of this ammunition  was "grossly improper."  He  argues

          that the introduction  of these bullets  could not have  assisted

          the jury in  understanding the phrase "silver bullets,"  that the

          court's suggestion that they were  offered "to demonstrate what .

          . . Mr. Egan had in his desk" bears no  relevance to any issue in

          the case, and  that the presence of  live ammunition in  the jury

          room  only served  to inflame  the jury  and provoke  an improper

          response.

                    The government supports the admission of the bullets as

          a means of showing  that a reasonable person would  interpret the

          term  "silver bullets" to mean actual bullets that are silvery in

          color.    The government  suggests that  there  was no  danger of

          prejudice here because the bullets were clearly identified in the

          limiting instruction as belonging to Egan rather than Fulmer.  We

          find this distinction unconvincing.

                    The  probative value of actual bullets  in this case is

          minimal.  If the jury were in need of the  suggestion that actual

                                         -27-














          bullets  may  be silvery  in color,  a  proposition that  we find

          dubious, the government could have presented testimonial evidence

          to that  effect.  The  introduction of  ammunition was  certainly

          unnecessary.   We  also  find  that  the  risk  of  prejudice  or

          confusion  to  the  jury  substantially  outweighed  any  minimal

          probative value  this evidence may have had.  Notwithstanding the

          district court's  admonition that the ammunition  was intended to

          show what  was in Egan's desk, the jury may have been confused as

          to  the significance and role  of the ammunition  in this threats

          case.4  Furthermore, more  central to the issue of  the relevancy

          of this evidence and, consequentially, to its potential to unduly

          influence  the jury improperly, we fail to see what possession by

          the   victim  of  these  bullets  has  to  do  with  whether  the
                ______

          defendant's statement constituted a threat, particularly since he

          was unaware of their existence.

                    In light of  the entire  case and  the significance  of

          actual  bullets in evidence, we  cannot find that  this error was

          harmless.  See supra Section  III.A; see also Melvin, 27  F.3d at
                     ___ _____                 ________ ______

          708 ("An error will only be treated as harmless if  it is 'highly

          probable' that the error did not contribute to the verdict.").

                    C.   Admission  of  evidence  regarding   Agent  Egan's
                    C.   Admission  of  evidence  regarding   Agent  Egan's
                         reactions to the telephone message
                         reactions to the telephone message

                    Fulmer contends  that the district  court made  various

          errors in allowing Egan to testify about his reaction to Fulmer's

                              
          ____________________

          4  We note as well that the limiting instruction carried the risk
          of confusing  the jury  by suggesting that  evidence that  Fulmer
          knew of the bullets in Egan's drawer would be forthcoming.

                                         -28-














          voicemail message.   During this testimony,  Egan stated that  he

          believed that  Fulmer's initial pleasantries were  "dripping with

          sarcasm."  He also indicated that he believed  Fulmer's reference

          to "misprision of a  felony" meant that Fulmer believed  Egan had

          committed the crime of  misprision by failing to pursue  the case

          against  Fulmer's  family.    Egan  stated  that  he  interpreted

          Fulmer's  use of  the term  "silver bullets"  as a  death threat.

          Egan  testified that he found the message "chilling" and "scary,"

          and  that  he was  "shocked, couldn't  believe  he would  do it."

          Trial Transcript, vol.  2, at 97.   In response to  the question,

          "Did you do anything different in going  home that night than you

          ordinarily did," Egan responded that he "[t]ook some  comfort out

          of the fact  that I could hear  an extra magazine.   There was an

          extra magazine in my car, and I took some comfort out of the fact

          that  it was in there."  Fulmer's trial counsel objected that the

          statement was  both non-responsive and should  have been excluded

          under  Federal Rule of Evidence 403. The district court overruled

          the objection, and Egan continued to testify:

                    Q.   Special  Agent  Egan, what  do you  mean
                    there was an extra magazine in your car?

                    A.  Magazine  is for .  . . my  semiautomatic
                    pistol, held an extra 18 rounds.

                    Q.   A  magazine is  something that  holds an
                    extra 18 rounds of ammunition --

                    A.  Yes.

                    Q.   -- that was in your car that night after
                    you heard the message?

                    A.   I could hear it rattling.  It was in the
                    glove box.

                                         -29-














          Id. at 98.
          ___

                    On appeal, Fulmer raises three arguments regarding this

          testimony.  First, he  claims that such reaction evidence  is not

          relevant to  determining  whether, under  an objective  standard,

          Fulmer  made a  threat.   Second, Fulmer  objects to  portions of

          Egan's testimony  in which  he interpreted  each  portion of  the

          message.  Third, Fulmer claims that even if it were relevant, the

          reaction evidence was unfairly prejudicial.

                    Those  circuits that  have  considered  the issue  have

          found evidence of the recipient's reactions to the alleged threat

          relevant to the determination of whether the statement is a "true

          threat."    See   Malik,  16   F.3d  at  49   ("In  making   this
                      ___   _____

          determination, proof of the effect of the alleged threat upon the

          addressee is highly relevant.");   United States v. Roberts,  915
                                             _____________    _______

          F.2d  889, 890-91  (4th  Cir.  1990)  (noting  that  evidence  of

          recipient's  state  of mind  and  actions taken  in  response are

          relevant to  determination of  true threat); Schneider,  910 F.2d
                                                       _________

          at 1571  ("The fact that  the victim acts  as if he  believed the

          threat  is evidence that he did believe  it, and the fact that he

          believed it is evidence  that it could be believed  and therefore

          that it is  a threat.  By this chain  of inference, the relevance

          of  the  [recipient's]   testimony  is  established.");   Orozco-
                                                                    _______

          Santillan,  903   F.2d  at  1265  ("Alleged   threats  should  be
          _________

          considered in  light of  their entire factual  context, including

          the surrounding  events and reaction of  the listeners."); United
                                                                     ______

          States  v. Davis, 876 F.2d 71, 72 (9th Cir. 1989) ("A recipient's
          ______     _____


                                         -30-














          state of  mind, as well as  his actions taken in  response to the

          letter, are highly  relevant in  establishing . .  . whether  the

          letter  could  reasonably  be  read  as  containing  a threat  of

          injury.");  Maisonet, 484 F.2d at 1358 ("Whether a letter that is
                      ________

          susceptible of  more than one meaning -- one of which is a threat

          of  physical injury -- constitutes a threat must be determined in

          the light of the context in which it was written.").

                    Moreover,  in the  context  of  an attempted  extortion

          case, we have  held the recipient's  reactions to a threat  to be

          relevant and admissible.  United States v. Goodoak, 836 F.2d 708,
                                    _____________    _______

          712  (1st Cir.  1988).   We  determined  that the  "state-of-mind

          evidence  will be  most  relevant to  th[e] question  [of whether

          there was an  attempt to  frighten] where the  defendant knew  or

          reasonably should have known that his actions  would produce such

          a  state of mind in  the victim."   Id.  Thus, even  when, in the
                                              ___

          extortion context, we have  employed the legal standard advocated

          by  Fulmer -- determining a "true threat" from the perspective of

          the person who makes the statement -- we have found that evidence

          of the effect of the threat upon its listener is relevant to what

          a  reasonable person in the  position of the  speaker should have

          foreseen.   Therefore,  although  the proper  standard is  what a

          person making  the statement should have  reasonably foreseen, we

          find  that evidence of  the recipient's reactions  is relevant to

          that  inquiry.   Because  Egan's  interpretation  of the  message

          provided the basis for his reactions thereto, it is also relevant




                                         -31-














          under  the  same  analysis  as  his  reaction  and  was  properly

          admitted.

                    Fulmer further contends  that, even if Egan's  reaction

          is relevant,  its relevance  was substantially outweighed  by its

          prejudicial impact and it should have  been excluded.  It is well

          established that "[i]f the evidence brings unwanted baggage, say,

          unfair  prejudice or a cognizable risk of confusing the jury, and

          if the baggage's weight  substantially overbalances any probative

          value, then  the evidence  must be  excluded."   United States v.
                                                           _____________

          Rodr guez-Estrada,  877  F.2d  153,  155  (1st  Cir.  1989).   We
          _________________

          recognize that all  evidence mustered by the  government is meant

          to prejudice the defendant.   Rule 403  is meant only to  exclude

          that  evidence that poses a  danger of unfair  prejudice.  United
                                                 ______              ______

          States v. Wood, 982 F.2d 1, 4 (1st Cir. 1992).
          ______    ____

                    The actual recipient's reaction  to the statement shows

          that the  recipient did perceive the  message as a threat.   This

          reaction is probative of  whether one who makes such  a statement

          might  reasonably foresee that such a statement would be taken as

          a threat.  On the other side of the equation,  any prejudice, let

          alone  unfair  prejudice,  did  not  substantially  outweigh  the

          probative value  of  much  of  the proffered  evidence.    Egan's

          reaction  to and interpretation of the message did not infect the

          proceedings with unfair prejudice.

                    The weighing of  Egan's testimony  regarding the  extra

          magazine  of   ammunition   "rattling"  around   in   his   glove

          compartment, however, is  a closer call.  Although  this evidence


                                         -32-














          may have been probative of Egan's reaction to receiving  Fulmer's

          message,  and may have indicated the extent of Egan's fear, there

          is a  risk that it may  also have aroused an  emotional or biased

          response in  the jury that  may have confused  the issues in  the

          case.      This   risk   was  increased   by   the   government's

          mischaracterization of  Egan's testimony in its  closing, when it

          erroneously  stated that  Egan made  sure to  take home  an extra

          eighteen  rounds of ammunition the night he received the message.

          Finally, the  prejudicial effect of this  testimony is compounded

          when we view it in light  of the contested evidence discussed  in

          sections I.A and I.B.  We find that its use could have evoked  an

          emotional response in the jury, and that this  likely prejudicial

          effect substantially outweighed any probative value.  We find the

          district court abused its discretion by admitting  evidence as to

          the  ammunition  carried by  Egan on  the  night he  received the

          threat.

                    D.   Admission  of  discussion  between  Egan  and  his
                    D.   Admission  of  discussion  between  Egan  and  his
                         supervisor
                         supervisor

                    Fulmer next contests the introduction of testimony from

          both Egan and his supervisor, Schlabach, regarding a conversation

          that  took place between them the morning after Egan received the

          message.  Egan testified  that he played the tape  for Schlabach,

          and  told Schlabach that he thought  the message was a threat and

          intended  to bring  it  to the  attention  of the  United  States

          Attorney.

                    Schlabach testified  that Egan said that  he considered

          the message  a threat,  particularly the statement  "[t]he silver

                                         -33-














          bullets are coming  for you."5   Schlabach stated  that Egan  was

          "clearly upset,  concerned, agitated.  His  motions were somewhat

          exaggerated.    Typical  reaction   you  would  see  under  those

          circumstances."   Trial Transcript,  vol. 2,  at 130.   Schlabach

          indicated that  Egan  intended to  discuss the  message with  the

          United States Attorney's office and with a squad in  the FBI unit

          responsible for investigating threatening matters.

                    In  a pre-trial  conference, the  district court  ruled

          that  these statements  were admissible  as either  statements of

          present  sense impression or of then-existing state of mind.  See
                                                                        ___

          Fed.  R. Evid. 803(1), 803(3).   Fulmer argues  that the district

          court   misinterpreted  and/or   misapplied  these   two  hearsay

          exceptions.   He  further argues  that the  introduction  of this

          testimony was  grossly prejudicial  because it emphasized  Egan's

          conclusion  on  the  ultimate issue,  that  the  statement  was a

          threat, and should have been excluded on those grounds.

                    We  have already  noted that  a victim's  reactions and

          actions  taken in response to  an alleged threat  are relevant to

          the determination of whether a statement is a "true threat."  See
                                                                        ___

          supra section I.C.  The statements made by Egan in the context of
          _____

          this conversation are  not offered  for the truth  of the  matter

          asserted, that the statements  were a threat and that  Egan would

          bring  the  message  to  the  attention  of   the  United  States

          Attorney's  office.   Rather,  Egan's  statements  relate to  the

                              
          ____________________

          5   The actual statement in the message was "[t]he silver bullets
          are coming."

                                         -34-














          nature  and extent of the impact of Fulmer's statement upon Egan.

          They, thus, are not hearsay.

                    Regarding  Schlabach's  testimony,  we  find  that  his

          testimony as  to Egan's  statements are  cumulative and that  his

          comments  regarding Egan's  demeanor  during the  course of  this

          conversation were not hearsay at all.  The district court did not

          err in admitting this evidence.

                    E.   Admission of bad character evidence
                    E.   Admission of bad character evidence

                    Egan testified  at trial that, at  their first meeting,

          Fulmer indicated that  Boschetti and David  Fulmer "had used  the

          courts against  him, . .  . to  keep him away  from the  family."

          Trial Transcript, vol.  2, at  59-60.  Egan  also testified  that

          Fulmer  told Egan  that he  had been  restrained from  seeing his

          family by the court.  Id. at 108-09.  Egan further testified that
                                ___

          Boschetti informed him that Fulmer's allegations were "vengeance"

          on Fulmer's part.  Id. at 77.  Egan stated that David Fulmer told
                             ___

          Egan that  "this is the  last episode in  a continuing  series of

          hard feelings between Kevan Fulmer and his family."  Id. at 79.
                                                               ___

                    Fulmer   first  contends  that  these  statements  were

          hearsay.   We  agree with  the district  court's assessment  that

          these statements were not  hearsay, but were offered to  show the

          context in which Fulmer's statement was made.

                    Fulmer also contends that  introduction of both his own

          statements and those of others violates Federal Rules of Evidence






                                         -35-














          404(b),6  because the  acts mentioned  had a  tendency to  show a

          propensity toward bad acts, and Rule 403, because the prejudicial

          effect  of  the evidence  substantially outweighed  its probative

          value.   Rule 404(b) is  intended to "forbid  judging a person on

          the basis of innuendo arising  from conduct [that] is  irrelevant

          to  the charges for which he  or she is presently standing trial,

          i.e., against finding  present guilt  based on  a 'bad  character
          ____

          profile.'"  United States  v. Cortijo-D az, 875 F.2d 13,  15 (1st
                      _____________     ____________

          Cir. 1989).   We employ a  two-pronged test to  determine whether

          evidence of a defendant's "other acts" is admissible.

                    First   the   evidence   must  overcome   the
                    "absolute  bar" of  Fed. R.  Evid. 404(b)  by
                    being specially probative of an issue in  the
                    case  --  such  as  intent  or  knowledge  --
                    without including bad character or propensity
                    as a necessary link in the inferential chain.
                    Probative value  "must be considered in light
                    of the  remoteness in  time of the  other act
                    and the  degree of  resemblance to  the crime
                    charged."    If  the  proffered  evidence has
                    "special   relevance,"   it  is   nonetheless
                    inadmissible  if  its   probative  value   is
                    "substantially outweighed by the  danger of,"
                    inter alia, "unfair  prejudice, confusion  of
                    the issues, or misleading the jury."

          United States v. Frankhauser, 80 F.3d 641, 648-49 (1st Cir. 1996)
          _____________    ___________

          (citations omitted).

                              
          ____________________

          6  Federal Rule of Evidence 404(b) provides:

                    Other crimes,  wrongs, or acts.   Evidence of
                    other   crimes,   wrongs  or   acts   is  not
                    admissible to prove the character of a person
                    in   order  to  show   action  in  conformity
                    therewith.   It  may, however,  be admissible
                    for other purposes, such  as proof of motive,
                    opportunity,  preparation,  plan,  knowledge,
                    identity, or absence of mistake or accident.

                                         -36-














                    We  find  first that  the  evidence  did have  "special

          relevance" to an  issue in  this case, namely,  whether a  person

          making  the statement  should have  reasonably foreseen  that his

          statement, viewed in light of the factual context in which it was

          made, was a "true threat."  Whether  Fulmer's family relationship

          was strained,  whether he  had been  restrained  from seeing  his

          family,  whether  he  harbored  ill feelings  toward  his  former

          father-in-law and brother  -- all of these things  are especially

          relevant to  understanding Fulmer's motivation in  his pursuit of

          sanctions against his former family and perhaps the extent of his

          potential disappointment at the government's failure to prosecute

          Boschetti and David Fulmer.  We find that the district court  did

          not  abuse  its discretion  in  finding that  this  evidence fell

          outside  the prohibitions  of  Rule 404(b)  because the  evidence

          could  go both to Fulmer's  possible motive and  to his intent to

          threaten Egan.

                    Under  Rule  403,  the  district court  is  to  exclude

          evidence  that creates unfair prejudice or a risk of confusing or

          misleading the  jury that substantially  outweighs any  probative

          value.   Id. at 649.  Certainly  evidence that Fulmer had engaged
                   ___

          in  other acts  that might  show  that he  has a  tendency to  be

          violent or  vengeful are  prejudicial.   The question is  whether

          this  prejudice is unfair.  In a threats prosecution, the general

          factual   context  in   which  the   statement  was   made  bears

          significantly on whether an ambiguous statement  could reasonably

          be read as a  threat.  Given that the  interaction between Fulmer


                                         -37-














          and Egan is  related directly to  Fulmer's relationship with  his

          family,   indeed  that   their   interaction   arose  from   that

          relationship,   admitting   evidence    regarding   the    family

          relationship was not  likely to unfairly prejudice Fulmer and any

          prejudice certainly did not substantially outweigh any  probative

          value.

                    The  district   court  was  careful  to  exclude  other

          evidence of Fulmer's prior acts as overly prejudicial.  Given the

          district court's  careful weighing of the  "other acts" evidence,

          we find no abuse of discretion here.7

                    One nuance of Fulmer's  argument remains.  While Fulmer

          concedes  that  the context  of a  statement  is relevant  to the

          inquiry  under  the objective  standard  of a  "true  threat," he

          contends  that  the  evidence  should focus  exclusively  on  the

          context of  the statement itself  and on the  interaction between

          the parties to the statement, here Fulmer and Egan.  He maintains

          that any evidence from sources other than Fulmer are not relevant

          to the  inquiry under the objective  standard.  We  find that the

          evidence of Fulmer's other acts from sources other than Fulmer so

          closely  mirrors  statements  from  Fulmer to  Egan  that  it  is

          cumulative of  Fulmer's  statements.    We find  that,  if  their

          admission  was error,  that error  could not  have  been anything

                              
          ____________________

          7  Fulmer  argues that evidence that he had  been arrested for or
          even convicted of assault was  improperly placed before the jury.
          Fulmer fails to cite where in the transcript such evidence may be
          found.  Having reviewed the trial transcript as well as the trial
          exhibits, we  find no  indication that such  evidence was  placed
          before the jury.

                                         -38-














          other than harmless.  United States v. Cudlitz, 72 F.3d 992,  999
                                _____________    _______

          (1st Cir.  1996) ("Under the harmless error doctrine . . . we are

          instructed  to ask whether it is 'highly probable' that the error

          did not 'contribute to the verdict.'" (citations omitted)).

                    F.   Government's admission of newspapers that depicted
                    F.   Government's admission of newspapers that depicted
                         murders, shootings, and threats
                         murders, shootings, and threats

                    On  direct  examination,  Erika  Liem, a  paralegal  in

          defense  counsel's office, testified that she  had found only one

          article in a  search of both  the Boston Globe  and the New  York

          Times for 1995  in which  the term "silver  bullets" referred  to

          actual ammunition.  She further testified that, in several of the

          articles, "silver bullets" referred  to a solution to  a problem.

          On cross-examination,  the government asked Liem  whether she had

          found  several articles,  in  which the  phrase "silver  bullets"

          appeared,  that depicted  murders and  shootings.   She testified

          that she  had not  found these articles,  all of which  were from

          newspapers  outside the Northeast and  all but one  of which were

          published  before 1995.  The prosecutor then read a sentence from

          one of the articles and asked Liem about other facts discussed in

          the  article.  Each of  the articles was  admitted into evidence.

          On redirect-examination, defense counsel introduced into evidence

          the articles found in Liem's search.

                    On appeal, Fulmer contends that the government's use of

          these  articles was  outside the scope  of the use  of the phrase

          "silver bullets."  The government  responds that the evidence was

          proper rebuttal  to Fulmer's implication that  the term typically

          is used in a benign manner.  We find that,  because Fulmer opened

                                         -39-














          the door  to introducing evidence from newspapers  reports of the

          different  usages of the term "silver bullets," the court did not

          abuse  its  discretion  by  allowing the  government  to  provide

          evidence from similar sources to rebut Fulmer's evidence.

                                      CONCLUSION
                                      CONCLUSION

                    This appeal presents a variety of claims of error, most

          of which concern difficult  decisions made by the  district court

          that  we are  wary  to reverse.   We  find,  however, that  three

          evidentiary rulings by the district court were errors that cannot

          be  deemed harmless  because of the  unacceptable risk  of unfair

          prejudice they created.  Specifically,  we find that the district

          court  erred  in  admitting   into  evidence:    actual  bullets;

          testimony  regarding ammunition  in Egan's  car on  the  night he

          received the alleged threat; and testimony regarding the Oklahoma

          City bombing.   Therefore, Fulmer's conviction is vacated and the
                                                            vacated
                                                            _______

          case  remanded  for  further   proceedings  consistent  with  the
                remanded
                ________

          discussion in this opinion.




















                                         -40-









